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                                         ORDERED.

      Dated: May 13, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                            Case No. 6:19-bk-02117-CCJ
Deosaran Bhola,                                   Chapter 7

         Debtor.                              /

     AGREED ORDER GRANTING MOTION FOR RELIEF FROM STAY AND
   REQUESTING CANCELATION OF HEARING SCHEDULED FOR JUNE 11, 2019
            (RE: 513 South Buena Vista Avenue, Orlando, FL 32835)

         THIS CASE came on for consideration of the Motion for Relief from Stay [DE 7] filed

by Nationstar Mortgage LLC d/b/a Mr. Cooper (“Movant”) and the Response [DE 10] filed by the

Trustee, which are scheduled for hearing on June 11, 2019. The Court having reviewed the

Motion and the Response, having been advised that the parties agree to the entry of this Order,

and based on the record, it is:

         ORDERED:

         1.        The Motion is GRANTED subject to the limitations outlined below.

         2.        The automatic stay arising by reason of 11 U.S.C. Section 362 of the Bankruptcy

Code is terminated as to Movant’s interest in the following property:




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         LOT 54, BLOCK B, ORLO VISTA HEIGHTS, ACCORDING TO THE MAP
         OR PLAT THEREOF, AS RECORDED IN PLAT BOOK K, PAGE 139, OF
         THE PUBLIC RECORDS OF ORANGE COUNTY, FLORIDA.

         Said property has a common address of 513 South Buena Vista Avenue, Orlando,
         FL 32835 (the “Property”).

         3.        Termination of the automatic stay is delayed one hundred and eighty (180) days

from entry of this Order to allow the Trustee the opportunity to market and sell the Property.

         4.        Movant must either be paid in full from the proceeds of any sale or approve any

short sale.

         5.        That, after 180 days of entry of this Order, the automatic stay is modified for the

sole purpose of allowing Movant to complete in rem relief, to take any and all steps necessary to

exercise any rights it may have in the Property, to gain possession of the Property, and to have in

rem relief in accordance with non-bankruptcy law. Movant does not have in personam relief

against Debtor.

         6.        The hearing scheduled for June 11, 2019, at 1:45 p.m. is canceled.

Attorney Lindsey Savastano is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within 3 days of entry of the order.




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